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Loanid:                                         Borrower: PEOPLES                             Telephone:                                                    SSN:
Effective Date   Transaction Date Due Date      Transaction       Batch Desc   Sub Batch Id      Trans. Amt    Principal     Principal        Arrearage /      Interest   Unapplied   Unapplied    Escrow      Escrow Late Charge    Late Charge   Assistance Amt
                                                Description                    Code                             Amount        Balance    Forbearance Prin      Amount       Amount      Balance    Amount      Balance       Amt         Balance

      1/8/2019          1/8/2019       7/1/2018 New Loan                          0                    $.00   $28,688.08   $28,688.08              $0.00           $.00        $.00        $.00        $.00        $.00      $.00           $.00            $.00
     1/14/2019        1/14/2019        7/1/2018 3rd PPS Corp                    212               ($545.00)         $.00   $28,688.08              $0.00           $.00        $.00        $.00        $.00        $.00      $.00           $.00            $.00
                                                Advance
                                                Assessment
     1/14/2019        1/14/2019        7/1/2018 Prior Serv Corp                  96                ($60.94)         $.00   $28,688.08              $0.00           $.00        $.00        $.00        $.00        $.00      $.00           $.00            $.00
                                                Adv Assessment
     1/14/2019        1/14/2019        7/1/2018 Prior Serv Late                  95                ($90.70)         $.00   $28,688.08              $0.00           $.00        $.00        $.00        $.00        $.00      $.00           $.00            $.00
                                                Chrg Assessment
     1/22/2019        1/23/2019        7/1/2018 Escrow Only       3000-47-BB      0                $287.85          $.00   $28,688.08              $0.00           $.00        $.00        $.00    $287.85     $287.85       $.00           $.00            $.00
                                                Payment
      1/9/2019        1/24/2019        7/1/2018 Escrow Only       3000-47-BB      0               $4,236.79         $.00   $28,688.08              $0.00           $.00        $.00        $.00   $4,236.79   $4,524.64      $.00           $.00            $.00
                                                Payment
      1/9/2019        1/24/2019        7/1/2018 Unapplied         3000-47-BB      0                 $34.18          $.00   $28,688.08              $0.00           $.00      $34.18      $34.18        $.00   $4,524.64      $.00           $.00            $.00
                                                Payment
     1/25/2019        1/25/2019        7/1/2018 Regular Payment EKA Dep           0                $411.63       $65.64    $28,622.44              $0.00       $194.24         $.00      $34.18    $151.75    $4,676.39      $.00           $.00            $.00
                                                                (3000-EK01
                                                                -BC)
     1/25/2019        1/25/2019        8/1/2018 Unapplied         EKA Dep         0                  $2.37          $.00   $28,622.44              $0.00           $.00       $2.37      $36.55        $.00   $4,676.39      $.00           $.00            $.00
                                                Payment           (3000-EK01
                                                                  -BC)
     2/25/2019        2/25/2019        8/1/2018 Unapplied         EKA Dep         0                $414.00          $.00   $28,622.44              $0.00           $.00     $414.00     $450.55        $.00   $4,676.39      $.00           $.00            $.00
                                                Payment           (3000-EK01
                                                                  -BC)
     2/25/2019        2/27/2019        8/1/2018 Unapplied        45-PA OSO        0               ($411.63)         $.00   $28,622.44              $0.00           $.00   ($411.63)      $38.92        $.00   $4,676.39      $.00           $.00            $.00
                                                Payment Reversal
     2/25/2019        2/27/2019        8/1/2018 Regular Payment 45-PA OSO         0                $411.63       $66.08    $28,556.36              $0.00       $193.80         $.00      $38.92    $151.75    $4,828.14      $.00           $.00            $.00
     2/17/2019        3/11/2019        2/1/2019 Late Charge                       0                ($12.99)         $.00   $28,556.36              $0.00           $.00        $.00      $38.92        $.00   $4,828.14   ($12.99)       $12.99             $.00
                                                Assessment
     3/17/2019        3/17/2019        3/1/2019 Late Charge                       0                ($12.99)         $.00   $28,556.36              $0.00           $.00        $.00      $38.92        $.00   $4,828.14   ($12.99)       $25.98             $.00
                                                Assessment
     3/28/2019        3/28/2019        9/1/2018 Unapplied         EKA Dep         0                $414.00          $.00   $28,556.36              $0.00           $.00     $414.00     $452.92        $.00   $4,828.14      $.00        $25.98             $.00
                                                Payment           (3000-EK01
                                                                  -JW)
     3/29/2019        3/29/2019        9/1/2018 Unapplied        45-JW            0               ($411.63)         $.00   $28,556.36              $0.00           $.00   ($411.63)      $41.29        $.00   $4,828.14      $.00        $25.98             $.00
                                                Payment Reversal
     3/28/2019        3/29/2019        9/1/2018 Regular Payment 45-JW             0                $411.63       $66.53    $28,489.83              $0.00       $193.35         $.00      $41.29    $151.75    $4,979.89      $.00        $25.98             $.00
     3/29/2019        3/29/2019       10/1/2018 Legal Fee                         1               ($250.00)         $.00   $28,489.83              $0.00           $.00        $.00      $41.29        $.00   $4,979.89      $.00        $25.98             $.00
                                                Assessment
     4/17/2019        4/17/2019        4/1/2019 Late Charge                       0                ($12.99)         $.00   $28,489.83              $0.00           $.00        $.00      $41.29        $.00   $4,979.89   ($12.99)       $38.97             $.00
                                                Assessment
      5/2/2019          5/2/2019      10/1/2018 Escrow            FPI Escrow      0                ($65.78)         $.00   $28,489.83              $0.00           $.00        $.00      $41.29    ($65.78)   $4,914.11      $.00        $38.97             $.00
                                                Disbursement

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Loanid:                                         Borrower: PEOPLES                           Telephone:                                                  SSN:
Effective Date   Transaction Date Due Date      Transaction     Batch Desc   Sub Batch Id      Trans. Amt   Principal    Principal        Arrearage /      Interest   Unapplied   Unapplied    Escrow      Escrow Late Charge    Late Charge   Assistance Amt
                                                Description                  Code                            Amount       Balance    Forbearance Prin      Amount       Amount      Balance    Amount      Balance       Amt         Balance

      5/6/2019          5/6/2019      10/1/2018 Regular Payment 3000-41548      0                $411.63      $66.98    $28,422.85             $0.00       $192.90         $.00      $41.29    $151.75    $5,065.86      $.00        $38.97             $.00
      5/6/2019          5/6/2019      11/1/2018 Unapplied       3000-41548      0                  $2.37        $.00    $28,422.85             $0.00           $.00       $2.37      $43.66       $.00    $5,065.86      $.00        $38.97             $.00
                                                Payment
     5/17/2019        5/17/2019        5/1/2019 Late Charge                     0                ($12.99)       $.00    $28,422.85             $0.00           $.00        $.00      $43.66       $.00    $5,065.86   ($12.99)       $51.96             $.00
                                                Assessment
      6/5/2019          6/5/2019      11/1/2018 Escrow          FPI Escrow      0                ($17.28)       $.00    $28,422.85             $0.00           $.00        $.00      $43.66    ($17.28)   $5,048.58      $.00        $51.96             $.00
                                                Disbursement
     6/10/2019        6/10/2019       11/1/2018 Regular Payment 3000-41548      0                $411.63      $67.43    $28,355.42             $0.00       $192.45         $.00      $43.66    $151.75    $5,200.33      $.00        $51.96             $.00
     6/10/2019        6/10/2019       12/1/2018 Unapplied       3000-41548      0                  $2.37        $.00    $28,355.42             $0.00           $.00       $2.37      $46.03       $.00    $5,200.33      $.00        $51.96             $.00
                                                Payment
     6/17/2019        6/17/2019        6/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $5,200.33   ($12.99)       $64.95             $.00
                                                Assessment
      7/5/2019          7/5/2019      12/1/2018 Escrow          FPI Escrow      0                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $5,183.05      $.00        $64.95             $.00
                                                Disbursement
     7/16/2019        7/16/2019       7/31/2019 City/Town Tax   property       31               ($708.04)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03   ($708.04)   $4,475.01      $.00        $64.95             $.00
                                                Disbursement    taxes
                                                                07/16/19
                                                                MR
     7/17/2019        7/17/2019        7/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,475.01   ($12.99)       $77.94             $.00
                                                Assessment
      8/2/2019          8/2/2019      12/1/2018 Escrow          FPI Escrow      0                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $4,457.73      $.00        $77.94             $.00
                                                Disbursement
     8/17/2019        8/17/2019        8/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,457.73   ($12.99)       $90.93             $.00
                                                Assessment
      9/4/2019          9/4/2019      12/1/2018 Escrow          FPI Escrow      0                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $4,440.45      $.00        $90.93             $.00
                                                Disbursement
     9/11/2019        9/11/2019       12/1/2018 Legal Fee                       1               ($250.00)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,440.45      $.00        $90.93             $.00
                                                Assessment
     9/17/2019        9/17/2019        9/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,440.45   ($12.99)      $103.92             $.00
                                                Assessment
     10/2/2019        10/2/2019       12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $4,423.17      $.00       $103.92             $.00
                                                Insur
                                                Disbursement
    10/17/2019       10/17/2019       10/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,423.17   ($12.99)      $116.91             $.00
                                                Assessment
     11/5/2019        11/5/2019       12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $4,405.89      $.00       $116.91             $.00
                                                Insur
                                                Disbursement
    11/17/2019       11/19/2019       11/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $4,405.89   ($12.99)      $129.90             $.00
                                                Assessment




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Loanid:                                         Borrower: PEOPLES                           Telephone:                                                  SSN:
Effective Date   Transaction Date Due Date      Transaction     Batch Desc   Sub Batch Id      Trans. Amt   Principal    Principal        Arrearage /      Interest   Unapplied   Unapplied    Escrow      Escrow Late Charge    Late Charge   Assistance Amt
                                                Description                  Code                            Amount       Balance    Forbearance Prin      Amount       Amount      Balance    Amount      Balance       Amt         Balance

     12/5/2019        12/5/2019       12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $4,388.61      $.00       $129.90             $.00
                                                Insur
                                                Disbursement
    12/12/2019       12/12/2019      12/31/2019 City/Town Tax   property       31               ($716.31)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03   ($716.31)   $3,672.30      $.00       $129.90             $.00
                                                Disbursement    taxes MR
                                                                12/12
    12/17/2019       12/17/2019       12/1/2019 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,672.30   ($12.99)      $142.89             $.00
                                                Assessment
    12/31/2019       12/31/2019       12/1/2018 Int on Escrow   IOE -           0                $113.15        $.00    $28,355.42             $0.00           $.00        $.00      $46.03    $113.15    $3,785.45      $.00       $142.89             $.00
                                                Payment         MARYLAN
                                                                D
      1/3/2020          1/3/2020      12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $3,768.17      $.00       $142.89             $.00
                                                Insur
                                                Disbursement
     1/17/2020        1/17/2020        1/1/2020 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,768.17   ($12.99)      $155.88             $.00
                                                Assessment
      2/4/2020          2/4/2020      12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $3,750.89      $.00       $155.88             $.00
                                                Insur
                                                Disbursement
     2/17/2020        2/18/2020        2/1/2020 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,750.89   ($12.99)      $168.87             $.00
                                                Assessment
      3/3/2020          3/3/2020      12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $3,733.61      $.00       $168.87             $.00
                                                Insur
                                                Disbursement
     3/17/2020        3/17/2020        3/1/2020 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,733.61   ($12.99)      $181.86             $.00
                                                Assessment
     3/24/2020        3/24/2020        3/1/2020 Late Charge                     0                 $12.99        $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,733.61    $12.99       $168.87             $.00
                                                Waiver
      4/7/2020          4/7/2020      12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $3,716.33      $.00       $168.87             $.00
                                                Insur
                                                Disbursement
     4/17/2020        4/17/2020        4/1/2020 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,716.33   ($12.99)      $181.86             $.00
                                                Assessment
     4/17/2020        4/17/2020        4/1/2020 Late Charge                     0                 $12.99        $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,716.33    $12.99       $168.87             $.00
                                                Waiver
      5/4/2020          5/4/2020      12/1/2018 Forced Place    FPI Escrow     12                ($17.28)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03    ($17.28)   $3,699.05      $.00       $168.87             $.00
                                                Insur
                                                Disbursement
     5/17/2020        5/19/2020        5/1/2020 Late Charge                     0                ($12.99)       $.00    $28,355.42             $0.00           $.00        $.00      $46.03       $.00    $3,699.05   ($12.99)      $181.86             $.00
                                                Assessment
     5/29/2020        5/29/2020       12/1/2018 Unapplied        45-BC          0                ($46.03)       $.00    $28,355.42             $0.00           $.00    ($46.03)        $.00       $.00    $3,699.05      $.00       $181.86             $.00
                                                Payment Reversal



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Loanid:                                         Borrower: PEOPLES                              Telephone:                                                   SSN:
Effective Date   Transaction Date Due Date      Transaction     Batch Desc      Sub Batch Id      Trans. Amt    Principal    Principal        Arrearage /      Interest   Unapplied   Unapplied    Escrow      Escrow Late Charge     Late Charge   Assistance Amt
                                                Description                     Code                             Amount       Balance    Forbearance Prin      Amount       Amount      Balance    Amount      Balance       Amt          Balance

     5/29/2020        5/29/2020       12/1/2018 Late Charge     45-BC              0                 $46.03          $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $3,699.05     $46.03       $135.83             $.00
                                                Payment
     5/29/2020        5/31/2020       12/1/2018 Late Charge     45-PA              0                 $46.03          $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $3,699.05     $46.03        $89.80             $.00
                                                Payment
     5/29/2020        5/31/2020       12/1/2018 Late Charge      45-PA             0                ($46.03)         $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $3,699.05    ($46.03)      $135.83             $.00
                                                Payment Reversal
      6/2/2020          6/2/2020      12/1/2018 Forced Place    FPI Escrow        12                ($17.28)         $.00   $28,355.42             $0.00           $.00        $.00        $.00    ($17.28)   $3,681.77       $.00       $135.83             $.00
                                                Insur
                                                Disbursement
     6/17/2020        6/17/2020        6/1/2020 Late Charge                        0                ($12.99)         $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $3,681.77    ($12.99)      $148.82             $.00
                                                Assessment
      7/3/2020          7/3/2020      12/1/2018 Forced Place    FPI Escrow        12                ($17.28)         $.00   $28,355.42             $0.00           $.00        $.00        $.00    ($17.28)   $3,664.49       $.00       $148.82             $.00
                                                Insur
                                                Disbursement
      7/9/2020          7/9/2020      7/31/2020 City/Town Tax   propertytax -     31               ($711.27)         $.00   $28,355.42             $0.00           $.00        $.00        $.00   ($711.27)   $2,953.22       $.00       $148.82             $.00
                                                Disbursement    07092020 -
                                                                AJ
     7/17/2020        7/17/2020        7/1/2020 Late Charge                        0                ($12.99)         $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $2,953.22    ($12.99)      $161.81             $.00
                                                Assessment
      8/5/2020          8/5/2020      12/1/2018 Forced Place    FPI Escrow        12                ($17.28)         $.00   $28,355.42             $0.00           $.00        $.00        $.00    ($17.28)   $2,935.94       $.00       $161.81             $.00
                                                Insur
                                                Disbursement
     8/17/2020        8/18/2020        8/1/2020 Late Charge                        0                ($12.99)         $.00   $28,355.42             $0.00           $.00        $.00        $.00        $.00   $2,935.94    ($12.99)      $174.80             $.00
                                                Assessment
      9/3/2020          9/3/2020      12/1/2018 Forced Place    FPI Escrow        12                ($17.28)         $.00   $28,355.42             $0.00           $.00        $.00        $.00    ($17.28)   $2,918.66       $.00       $174.80             $.00
                                                Insur
                                                Disbursement
                                                                Totals:                            $2,846.62   $29,020.74                                      $966.74         $.00               $2,918.66               ($174.80)                          $.00




Contains Customer Private Information - handle securely.
